Case 19-34054-sgj11   Doc 4255-120 Filed 06/20/25 Entered 06/20/25 21:39:29
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                               EXHIBIT 120
                                                                                                         Case 19-34054-sgj11                                                       Doc 4255-120 Filed 06/20/25 Entered 06/20/25 21:39:29
                                                                                                                                                                                     Desc Exhibit 120 Page 2 of 2



From:                                                                                                                                                             John A. Morris
Sent:                                                                                                                                                             Thursday, June 19, 2025 6:10 PM
To:                                                                                                                                                               Andrea T. Bates; Hayley R. Winograd
Subject:                                                                                                                                                          FW: Highland -- Request to File Rule 2019 Statement




From: Jeff Pomerantz <jpomerantz@pszjlaw.com>
Sent: Monday, June 16, 2025 4:24 PM
To: David Curry <dcurry@okinadams.com>; Matthew Okin <mokin@okinadams.com>
Cc: John A. Morris <jmorris@pszjlaw.com>; Gregory V. Demo <GDemo@pszjlaw.com>; Jeff Pomerantz
<jpomerantz@pszjlaw.com>
Subject: Highland -- Request to File Rule 2019 Statement

Gentlemen –

As your law firm purports to represent multiple parties in connection with the Highland bankruptcy case and next
week’s hearing we hereby request that you comply with your obligations to file promptly a Rule 2019 statement
with the Bankruptcy Court.

Best,
JeƯ

Jeff Pomerantz
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 | Cell: 310.489.0285 | Fax: 310.201.0760
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